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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF NEW YORK
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BLACK LOVE RESISTS IN THE RUST, et al., :
                                                             :
                                         Plaintiffs,         :
                                                             :
              v.                                             :   Case No. 1:18-cv-00719
                                                             :
CITY OF BUFFALO, N.Y., et al.,                               :
                                                             :
                                         Defendants.
                                                             :
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  DECLARATION OF DARIUS CHARNEY IN SUPPORT OF PLAINTIFFS’ MOTION
   TO COMPEL DEFENDANTS TO PRODUCE BUFFALO POLICE DEPARTMENT
                  INTERNAL AFFAIRS DIVISION FILES

I, Darius Charney, declare the following under penalty of perjury, pursuant to 28 U.S.C. § 1746:

        1.       I am a Senior Staff Attorney at the Center for Constitutional Rights (CCR).

        2.       I am one of the attorneys representing Plaintiffs and the proposed classes in this

action, and I am fully familiar with the facts stated in this declaration.

        3.       I am an attorney admitted to practice in the Western District of New York.

        4.       I submit this declaration in support of Plaintiffs’ motion to compel Defendants to

produce certain Internal Affairs Division (IAD) files of the Buffalo Police Department (BPD).

        5.       Plaintiffs’ November 2018 Requests for Production of Documents sought: “All

Documents and Communications relating to any comments, complaints, grievances or concerns

You received verbally or in writing” concerning the following topics: (1) checkpoints established

by the BPD Strike Force or Housing Unit; (2) racial profiling, bias and discrimination by the

BPD; and (3) BPD traffic stops, traffic ticketing, and/or other traffic enforcement practices.
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Defendants responded with a string of boilerplate objections and cited N.Y. Civil Rights Law §

50-a. See Ex. A at 28-29. (First Supplemental Responses to Requests 41-43).

       6.      Plaintiffs had previously circulated, in October 2018, a draft stipulated

confidentiality order to Defendants, which, by its terms, would prohibit disclosure of the IAD

files to non-parties. See Ex. B. Defendants have thus far refused to agree to the proposed order.

       7.      Defendants indicated that the BPD’s IAD files would likely contain documents

responsive to Plaintiffs requests. Therefore, Plaintiffs conferred with Defendants over several

months with respect to the production of IAD records. See Ex. C at 9; Ex. D at 4.

       8.      As of May 2019, Plaintiffs still had not received any responsive IAD records from

Defendants. See ECF 24 at 4-6.

       9.      At the May 30, 2019 conference, the Court stated that the IAD files were “within

the scope of discovery” and ordered Plaintiffs to provide Defendants with a list of ten initial

search terms for Defendants to run searches in its electronic IAD case database, which is known

as IAPro. May 30, 2019 Tr. at 10:12-13; 12:20-23. The Court also indicated that if the IA Pro

searches for each of the 10 search terms returned 200 or less IAD case files, it was the Court’s

expectation that Defendants would review each of those files by hand to determine which were

in fact responsive to Plaintiffs’ document requests. Id. at 13:5-14:22. The Court further offered to

conduct an in camera review of the responsive records to the extent Defendants noted any

withholding or redactions on their privilege log. Id. at 14:24-25; 15:1-10.

       10.     On June 27, Plaintiffs sent Defendants a list of ten initial search terms for the IAD

records. Those terms were: “checkpoint”, “check point”, “roadblock”, “road block”, “traffic”,

“summons”, “ticket”, “racial”, “discriminat”, and “profil”. Subsequently, on July 12, after




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Defendants’ counsel informed me that the search for “traffic” returned more than 300 entries,

Plaintiffs agreed to replace the “traffic” search term with “traffic stop.”

         11.      On July 11 and 18, Defendants sent Plaintiffs eight Excel spreadsheets containing

summaries of the IAD files that the searches for Plaintiffs’ search terms in the IA Pro database

had returned.

         12.      On July 12, Plaintiffs sought clarification on what Defendants required in order to

produce the responsive IAD files. See Ex. E (July 12 email from D. Charney to R. Quinn).

         13.      On July 15, Defendants stated that the next steps would be to review the Excel

spreadsheets to determine the responsiveness of the records described therein. See Ex. E (July 15

email from R. Quinn to D. Charney).

         14.      On July 18, I, along with Plaintiffs’ counsel Claudia Wilner and Travis England

of the National Center for Law and Economic Justice (NCLEJ), conferred with Defendants’

counsel Robert Quinn by phone. We agreed that Plaintiffs would review the eight Excel

spreadsheets Defendants had produced in an attempt to narrow the universe of IAD records at

issue, but we did not agree on any subsequent steps. See Ex. F (July 18 email chain).

         15.      On July 24, Plaintiffs sent Defendants highlighted versions of the eight Excel

summary spreadsheets with yellow highlights identifying 168 records Plaintiffs identified as

responsive to Plaintiffs’ document requests and relevant to Plaintiffs’ claims in this action.

Plaintiffs sought production of the entire case file for each highlighted record. See Ex. G (July 24

email and attached spreadsheets).1

         16.      On July 29, Defendants sent an email to Plaintiffs in which they did not indicate

which, if any, of the 168 highlighted IAD files they agreed were responsive and relevant.


1
 In order to create legible PDFs, Plaintiffs have adjusted the formatting of the spreadsheets. Plaintiffs did not
change the content of the spreadsheets in any way.

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Instead, Defendants (i) argued that highlighted IAD cases concerning traffic

stops/summonses/tickets that occurred outside of checkpoints and involved non-Strike Force or

Housing officers and therefore “appear[ed] to go beyond the scope of [Plaintiffs’] complaint”,

(ii) noted that they “generally object” to producing IAD officer misconduct complaints that are

not sustained (iii) disagreed that Plaintiffs would be entitled to the entire file for each IAD case

they had highlighted and (iv) contended that N.Y. Civil Rights Law § 50-a prohibited them

from disclosing much of the content within each of the highlighted IAD files. Defendants asked

Plaintiffs to provide their position on each of these issues, which Plaintiffs did on July 30. See

Ex. H (July 29-30 email chain).

       17.     On August 6, I, along with Plaintiffs’ counsel Chinyere Ezie of CCR and Claudia

Wilner, Travis England, and Britney Wilson of NCLEJ, conferred again by telephone with

Defendants’ counsel Robert Quinn, who continued to maintain each of the objections raised in

his July 29 email. The parties therefore agreed on that phone call that they need Court

intervention to resolve this dispute.

Dated: August 30, 2019

                                                              /s/ Darius Charney
                                                              Darius Charney




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